        Case 1:12-cr-10052-RGS Document 55 Filed 09/25/12 Page 1 of 2



                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
                     CRIMINAL ACTION NO. 12-10052-RGS

                          UNITED STATES OF AMERICA
                                            v.
                                      IGLI LEKA

                  ORDER ON DEFENDANT’S MOTION
            TO REVOKE OR AMEND THE ORDER OF DETENTION
                          PENDING TRIAL



                                  September 25, 2012
STEARNS, D.J.
      Now having had the opportunity to review the opposition (with exhibits)filed on
September 24, 2012, by the Government, as well as the defendant’s memorandum, the
transcript of the detention hearing before Magistrate Judge Sorokin, and the findings
and reasoning underlying his decision to enter an order of detention, it will be affirmed.
While I agree with the Magistrate Judge that the government’s showing of a risk of
flight is weak (although sufficient to satisfy the preponderance of the evidence standard
when considered in the context of the prospective mandatary ten-year sentence), I also
agree with his conclusion that the evidence of a risk to community safety, when
combined with the statutory (in this case unrebutted) presumption, amply justifies
          Case 1:12-cr-10052-RGS Document 55 Filed 09/25/12 Page 2 of 2



detention.1
                                      ORDER
      The motion to amend or revoke the detention order is DENIED.
                                       SO ORDERED.
                                       /s/ Richard G. Stearns
                                       _______________________________
                                       UNITED STATES DISTRICT JUDGE




      1
        As did Magistrate Judge Sorokin, I give special weight to the amount of drugs
distributed by the conspiracy of which Leka was a part, as well as the evidence of
Leka’s access to and use of firearms in connection with his criminal activity.
                                         2
